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                    IN THE UNITED STATES BANKRUPTCY COURT
                      FOR THE SOUTHERN DISTRICT OF TEXAS
                               HOUSTON DIVISION
                                           §
      In re                                §    Chapter 11 (Subchapter V)
      FREE SPEECH SYSTEMS LLC,             §
                                           §    Case No. 22-60043 (CML)
                                           §
                                   Debtor. §
                                           §

      DEBTOR’S AMENDED1 EMERGENCY APPLICATION FOR ENTRY OF AN ORDER
               AUTHORIZING THE DEBTOR TO RETAIN AND EMPLOY
                    HAROLD “HAP” MAY, PC AS CO-COUNSEL

    This motion seeks an order that may adversely affect you. If you oppose the motion, you should
    immediately contact the moving party to resolve the dispute. If you and the moving party
    cannot agree, you must file a response and send a copy to the moving party. You must file and
    serve your response within 21 days of the date this was served on you. Your response must
    state why the motion should not be granted. If you do not file a timely response, the relief may
    be granted without further notice to you. If you oppose the motion and have not reached an
    agreement, you must attend the hearing. Unless the parties agree otherwise, the court may
    consider evidence at the hearing and may decide the motion at the hearing. Represented parties
    should act through their attorney.

    Emergency relief has been requested. If the Court considers the motion on an emergency basis,
    then you will have less than 21 days to answer. If you object to the requested relief or if you
    believe that the emergency consideration is not warranted, you should file an immediate
    response.


TO THE HONORABLE CHRISTOPHER LOPEZ, UNITED STATES BANKRUPTCY JUDGE:


         Free Speech Systems, LLC, (“Debtor”), files this Emergency Application for Entry of an Order

Authorizing the Debtor to Retain and Employ Harold “Hap” May, PC as Co-Counsel (“Application”),

and in support thereof Debtor would respectfully show the Court as follows:




1
 Amended to the extent that the Application and Certificate of Service is signed and accurately reflects the method of
notice required.
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                     SUMMARY OF THE EMERGENCY APPLICATION

       1.      Debtor seeks to retain and employ Mr. Harold “Hap” May and his firm Harold

“Hap” May, PC (“May”) on an emergency basis as Co-Counsel to assist the Debtor with various

matters arising from the case and plan of reorganization. The Debtor requires assistance as soon

as possible on litigation related matters and in order to prepare for and prosecute confirmation of

the Debtor’s plan.

                                            JURISDICTION

       2.      This Court has jurisdiction by virtue of 28 U.S.C. § 1334. This matter is a core

proceeding pursuant to 28 U.S.C. §§ 157(b)(1), (b)(2)(A) and (M).

                                               VENUE

       3.      Venue is proper in this district pursuant to pursuant to 28 U.S.C. §§ 1408(1) and

(2) and 11 U.S.C. § 101(2)(A).

                                            BACKGROUND

       4.      The Debtor filed a voluntary petition for relief under Chapter 11 Subchapter V of

the Bankruptcy Code on July 29, 2022 [Docket No. 1]. On August 2, 2022, Melissa Haselden was

appointed Subchapter V Trustee [Docket No. 22]. On October 13, 2022, the Court entered an order

authorizing the employment of Patrick Magill as Chief Restructuring officer (“CRO”)

[Docket No. 239] and assist Debtor and provide services during the pendency of the chapter 11

Subchapter V case including facilitating the reorganization of the Debtor’s assets.

       5.      On September 20, 2022, the Court entered an order approving the engagement of

the Law Offices of Ray Battaglia, PLLC (“Battaglia”) as counsel for the Debtor. Docket #180. An

application to employ Shannon & Lee LLP (“S&L”) as co-counsel was filed on August 20, 2022.

Docket #85. The S&L application was ultimately not approved. It was anticipated since the

inception of the matter that the complicated FSS case would be prosecuted by Battaglia as well as

co-counsel so as to afford necessary representation very difficult for any single practitioner,

regardless of qualifications, to provide.
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       6.           May and his tax consulting firm, Evident Tax, LLC (“Evident”) were employed by

an order entered at Docket No. 694. Evident was employed to provide counsel related to various tax

issues concerning FSS and the plan of reorganization.

                          ENGAGEMENT OF PROPOSED CO-COUNSEL

            7.      Additional assistance in preparation for confirmation and prosecution of this case

  necessitates expansion of the role of Mr. May. Therefore, the Debtor now seeks authority to

  employ Harold “Hap” May PC for the purpose of assisting the Debtor in strategizing with regards

  to the plan, addressing claims and causes of action, and prosecuting confirmation of the plan,

  including assisting with the discovery process.

            8.      May has extensive experience in handling matters in connection with bankruptcy

  cases. Mr. May has been selected to be an adjunct professor of law at the University of Houston

  Law Center and will be teaching Bankruptcy Tax in the Spring of 2024. May has worked on

  restructuring matters for more than thirty (30) years and currently maintains offices at 1500 S.

  Dairy Ashford, Suite 325, Houston, Texas 77077. May has a background in providing similar

  services to companies in Debtor’s situation. Mr. May’s resume is attached hereto as Exhibit A.

            9.      May requires a retainer of $50,000.00. May will provide services on an hourly fee

  basis described as follows:

                  Professional                                  Hourly Rate
                  Harold “Hap” May                              $600.00
                  Contract Senior Counsel                       $350.00
                  Associate Attorneys                           $250.00
                  Support Staff                                 $150.00 to $50.00

            10.     Debtor believes that May is well qualified to assist the Debtor in formulating plan

  strategies, assisting in discovery and litigation matters, and other compliance issues. The proposed

  Engagement Letter with May is attached hereto as Exhibit B.




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          11.       Debtor does not believe that the services to be provided by May will unnecessarily

overlap and duplicate with the services of other professionals in this case including Evident and

Battaglia. To prevent any overlap and duplication, Debtor will coordinate with May, Evident and

Battaglia. The two law firms have agreed to a division of labor substantially like the manner which

multiple attorneys within the same law firm would handle a similar case. Each firm is aware of the

need to avoid duplication of effort and have taken steps to minimize the degree to which their services

will overlap.

          12.       May will be primarily responsible for the day-to-day management of the case,

issues involving discovery and litigation, and all routine activities typical to the Chapter 11 Case.

The Battaglia Firm will provide legal advice regarding strategy for the Chapter 11 Case and

implementation of that strategy. Evident will primarily responsible for tax related matters. The firms

will allocate primary responsibility as appropriate for drafting pleadings and handling contested

matters and meetings with the Debtor and opposing counsel. For certain matters it will be necessary

to involve more than one lawyer and the firms will jointly handle such matters, mindful of the need

to avoid duplication whenever possible.

                                              DISINTERESTEDNESS

          13.       May identified the following connections with other parties in interest:

                   a. Mr. May was a former employee of Hoover Slovacek, LLP (“HSLLP”). His
                      employment ended nine (9) years ago, in August 2014. While at HSLLP he
                      worked with Melissa Haselden on various bankruptcy matters. After leaving, he
                      and Melissa Haselden maintained a working relationship through a few
                      bankruptcy cases needing the services of a tax professional.

                   b. Mr. May has worked with Chief Restructuring Officer Patrick Magill on South
                      Coast Supply’s bankruptcy case 2 during June 2018. In that case, Patrick Magill
                      was the Chief Restructuring Officer. South Coast Supply sold substantially all
                      its assets to Solstice Capital, LLC, of which Mr. May owns a fifteen percent
                      (15%) interest in. After the sale, Solstice Capital, LLC entered into an agreement
                      with Patrick Magill for consulting services lasting approximately 12 months.

                   c. Mr. May represents Patrick Magill in Mr. Magill’s capacity as Liquidating

2
    Case No. 17-35898 US Bankruptcy Court for the Southern District of Texas Houston Division.
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                       Trustee in The Tifaro Group Ltd. Case. 3 This case and Mr. May representation
                       in this case are ongoing.

                   d. Mr. May represented Patrick Magill in a case styled DMM Group, Inc v. J.
                      Patrick Magill et al. 4 This case was resolved in the summer of 2021 and the
                      representation then ended.

                   e. May is a principal of Evident, a professional to provide tax related consulting to
                      the Debtor.

     The Debtor does not believe that these connections create an adverse relationship with its estate.

          14.       In compliance with 11 U.S.C. § 327(a) and Rule 2014, May attached the

declaration of Harold May (the “May Declaration”) as Exhibit C, detailing the foregoing

connections with the Debtor and other parties in interest. Based upon the May Declaration and

Debtor’s knowledge, Mr. May and May do not represent any interest adverse to Debtor, its estate,

creditors, equity holders, or affiliates in the matters upon which Mr. May and May are to be engaged

and are a “disinterested person” within the meaning of section 101(14) of the Bankruptcy Code, as

modified by section 1107(b) of the Bankruptcy Code, and as required by § 327(a) of the Bankruptcy

Code.

          15.       To the extent the Declaration does not disclose a connection, Debtor believes any

unknown and undisclosed connections are not sufficient to prohibit employment of Mr. May and

May as co-counsel to the Debtor. Further, if Mr. May or May discover any information not disclosed

herein or in the Declaration, which is deemed to require disclosure, Mr. May and May will file a

supplemental disclosure with the Court.

          16.       No previous application for the relief requested herein has been made in this case. The

Debtor does not believe that the connections disclosed herein are sufficient to prohibit the limited

engagement contemplated herein.




3
    Case No. 17-80171-11 US Bankruptcy Court for the Southern District of Texas Galveston Division.
4
    Cause No. 2008-63200 in the District Court of Harris County Texas 281 Judicial District.

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                                             LEGAL BASIS
          17.     Courts routinely approve the employment of consultants and professionals. See In

re Logix Communications, Case No. 02-32105-H5-11 (Bankr. S.D. Tex.); In re American Homestar,

Case No. 01-80017-G3-11 (Bankr. S.D. Tex.); In re Perry Gas Companies, Inc., 00- 37884-H5-11

(Bankr. S.D. Tex.); In re American Rice, Case No. 98-21254-C-11 (Bankr. S.D. Tex.).

          18.     Retention of professionals is specifically provided for in the Bankruptcy Code.

“[T]he trustee, with the court’s approval, may employ one or more . . . other professional persons

that do not hold an interest adverse to the estate . . .”. 11 U.S.C. §327(a). Such professionals must

not have a connection with Debtor and must be “disinterested persons” as that term is defined in the

code.

          19.     As set forth in the Declaration, Mr. May, May and its employees are disinterested

persons as contemplated by 11 U.S.C. § 327(a). Any connections between Debtor and Mr. May and

May do not create a materially adverse interest to Debtor’s bankruptcy estates or any class of creditors

or security equity holders. Accordingly, these connections do not preclude employment of Mr. May

and May in this matter. Moreover, Mr. May’s proficiency and familiarity with specialized Tax

matters and its effect on chapter 11 Debtor will legally save the estate costs and ultimately benefit the

estate.

          20.     Additionally, Debtor asserts that the proposed compensation to May as set forth

above and in the Engagement Agreement is both reasonable and well within the range of fees and

commissions typically paid to attorneys in connection with transactions and projects similar to those

contemplated in this instance. May and Evident will each file its own requests for compensation,

respectively. For the foregoing reasons, Debtor asserts that employment of May on such terms and

conditions is in the best interest of all parties in interest in these cases. Therefore, approval of May’s

compensation under section 327(a) of the Bankruptcy Code is appropriate.

                                      Reimbursement of Expenses

          21.     May informed the Debtor that disbursements for expenses are not included in the

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Firm’s hourly rates and will be separately billed as expenses of this proposed engagement. A table

demonstrating the expenses is below. Subject to the limitations set forth in General Order 2001-2,

May will charge the actual cost of these expenses in a manner and at rates consistent with charges

made to May’s other clients.

                Client Expenses                              Hourly Rate
                Deliveries & Couriers                        At Cost
                Travel, Lodging and Meals*                   At Cost (No charge for travel)
                Filing Fees & Misc. Expenses                 At Cost

  Expenses will be billed at the rates listed below in accordance with normal and customary billing

  practices.

                     EMERGENCY CONSIDERATION IS APPROPRIATE

       22.         The Debtor requires assistance as soon as possible on litigation related matters and

in order to prepare for and prosecute confirmation of the Debtor’s plan. Based on the foregoing,

Debtor submits that the retention of May as co-counsel for the Debtor is in the best interests of the

Debtor’s estate.

          WHEREFORE, Debtor prays that the Court authorize the employment of Harold “Hap”

  May as co-counsel for the Debtor as described in the Engagement Letter and grant such other and

  further relief as is just and proper.

  DATED: February 12, 2024
                                                      /s/ J. Patrick Magill          .
                                                      J. Patrick Magill
                                                      Chief Restructuring Officer
                                                      Free Speech Systems

                                                      PROPOSED COUNSEL
                                                      /s/ Harold “Hap” May
                                                      HAROLD N. MAY
                                                      S.B.N.: 13264800
                                                      Harold “Hap” May, P.C.
                                                      1500 S. Dairy Ashford, Suite 325
                                                      Houston, Texas 77077
                                                      (281) 407-5609
                                                      (832) 201-7675 fax
                                                      hap.may@May-Firm.com
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                                    CERTIFICATE OF SERVICE

          I certify that on February 12, 2024, a copy of the foregoing Debtor’s Amended Application
  for Entry of an Order (I) Authorizing the Debtor to Retain and Employ Harold ‘Hap” May PC as
  co-counsel was sent to the parties listed below by the Court’s ECF notification system and via
  First-Class U.S. Mail to parties listed on the Master Service List. A supplemental declaration of
  mailing evidencing service on all other parties to the Master Service List will be filed separately.


                                                             /s/    Harold “Hap” May
                                                                   Harold N. May

Raymond William Battaglia at rbattaglialaw@outlook.com, rwbresolve@gmail.comon behalf of:
      Debtor Free Speech Systems LLC
      Interested Party Alex E Jones
      Plaintiff Free Speech Systems LLC

Joseph S.U. Bodoff at jbodoff@rubinrudman.com on behalf of
        Creditor ADP TotalSource, Inc.

Marty L Brimmage at mbrimmage@akingump.com, lmonreal@akingump.com;bkemp@akingump.com;
apraestholm@akingump.com;txdocketing@akingump.com on behalf of:
        Creditor Committee Official Committee Of Unsecured Creditors
        Creditor Committee Official Committee of Unsecured Creditors of Alexander E. Jones
        Creditor David Wheeler, et al.
        Creditor Leonard Pozner
        Creditor Marcel Fontaine
        Creditor Neil Heslin
        Creditor Scarlett Lewis
        Creditor Veronique De La Rosa

Ryan E Chapple at rchapple@cstrial.com, aprentice@cstrial.com on behalf of:
       Creditor Carlee Soto Parisi
       Creditor Carlos M. Soto
       Creditor David Wheeler
       Creditor David Wheeler, et al.
       Creditor Donna Soto
       Creditor Erica L. Ash
       Creditor Francine Wheeler
       Creditor Ian Hockley
       Creditor Jacqueline Barden
       Creditor Jennifer Hensel
       Creditor Jillian Soto-Marino
       Creditor Leonard Pozner
       Creditor Marcel Fontaine
       Creditor Mark Barden
       Creditor Neil Heslin
       Creditor Nicole Hockley
       Creditor Richard M. Coan
       Creditor Robert Parker
       Creditor Scarlett Lewis
       Creditor Veronique De La Rosa
       Creditor William Aldenberg
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       Creditor William Sherlach
       Plaintiff Carlee Soto-Parisi
       Plaintiff Carlos M. Soto
       Plaintiff David Wheeler
       Plaintiff Donna Soto
       Plaintiff Francine Wheeler
       Plaintiff Ian Hockley
       Plaintiff Jacqueline Barden
       Plaintiff Jennifer Hensel
       Plaintiff Jillian Soto Marino
       Plaintiff Mark Barden
       Plaintiff Nicole Hockley
       Plaintiff Richard M. Coan
       Plaintiff Robert Parker
       Plaintiff William Sherlach
       Plaintiff Wlliam Aldenberg

Walter J Cicack at wcicack@hcgllp.com, mallen@hcgllp.comon behalf of:
        Interested Party Sweetwater Holdings Group, Inc.
        Respondent Cicack Holdings, LLC
        Witness Charles "Charlie" Cicack

Vickie L Driver at Vickie.Driver@crowedunlevy.com, elisa.weaver@crowedunlevy.com;
ecf@crowedunlevy.comon behalf of
        Defendant Alexander E. Jones, Trustee for AEJ 2018 Trust
        Interested Party Alex E Jones

Christopher Dylla at Christopher.Dylla@azag.gov on behalf of:
        Creditor Texas Comptroller of Public Accounts, Revenue Accounting Division

Elyse M Farrow at EFarrow@HaseldenFarrow.com, elysefarrow@gmail.com on behalf of:
       Trustee Melissa A Haselden

Bennett Greg Fisher at Bennett.Fisher@lewisbrisbois.com, candace.russell@lewisbrisbois.com;
jann.pigg@lewisbrisbois.com;maria.brito@lewisbrisbois.com;daniel.david@lewisbrisbois.com
on behalf of:
        Creditor Public Storage

Elizabeth Carol Freeman at liz@lizfreemanlaw.com,
kgradney@jw.com;dtrevino@jw.com;jpupo@jw.com;JacksonWalkerLLP@jubileebk.net
on behalf of:
        Attorney The Law Office of Liz Freeman
        Trustee Melissa A Haselden

Jennifer Jaye Hardy jhardy2@willkie.com, mao@willkie.com on behalf of:
        Creditor Leonard Pozner
        Creditor Marcel Fontaine
        Creditor Neil Heslin
        Creditor Scarlett Lewis
        Creditor Veronique De La Rosa
        Plaintiff Estate of Marcel Fontaine
        Plaintiff Leonard Pozner
        Plaintiff Neil Heslin
        Plaintiff Scarlett Lewis
        Plaintiff Veronique De La Rosa

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Melissa Anne Haselden at mhaselden@haseldenfarrow.com, haseldenbankruptcytrustee@gmail.com;
mhaselden@ecf.axosfs.com;haselden.melissaa.r104367@notify.bestcase.com on behalf of:
        Trustee Melissa A Haselden

Shelby A Jordan at cmadden@jhwclaw.comon behalf of
       Defendant Alexander E. Jones
       Interested Party Alex E Jones
       Interested Party Shelby A Jordan

Kyung Shik Lee at kslee50@gmail.com, Courtnotices@kasowitz.com on behalf of:
       Attorney Kyung Shik Lee
       Debtor Free Speech Systems LLC

Stephen Wayne Lemmon at lemmon@slollp.com, mates@slollp.com on behalf of:
       Creditor PQPR Holdings Limited, LLC
       JLJR Holdings, LLC
       Defendant PLJR HOLDINGS LIMITED, LLC
       Defendant PLJR HOLDINGS, LLC
       Defendant PQPR HOLDINGS LIMITED, LLC
       Defendant PQPR Holdings LLC
       Defendant PQPR Holdings Limited, LLC

Patrick Michael Lynch at plynch@qslwm.com, jtownzen@qslwm.com on behalf of:
        Creditor Ally Bank

John D Malone at myra@johnmalonepc.com, myra@johnmalonepc.com on behalf of:
       Creditor Security Bank of Crawford

Jarrod B. Martin at jarrod.martin@chamberlainlaw.com, Lara.Coleman@chamberlainlaw.com;
atty_jmartin@bluestylus.com;valerie.herrera@chamberlainlaw.com on behalf of
        Creditor Leonard Pozner
        Creditor Marcel Fontaine
        Creditor Neil Heslin
        Creditor Scarlett Lewis
        Creditor Veronique De La Rosa
        Plaintiff Estate of Marcel Fontaine
        Plaintiff Leonard Pozner
        Plaintiff Marcel Fontaine
        Plaintiff Neil Heslin
        Plaintiff Scarlett Lewis
        Plaintiff Veronique De La Rosa

Harold N May, III at hap.may@may-firm.com on behalf of:
       Attorney Harold "Hap" May P.C.

Avi Moshenberg at avi.moshenberg@mhllp.com, jessica.valdez@mhllp.com on behalf of:
      Creditor Leonard Pozner
      Creditor Marcel Fontaine
      Creditor Neil Heslin
      Creditor Scarlett Lewis
      Creditor Veronique De La Rosa
      Plaintiff Estate of Marcel Fontaine
      Plaintiff Leonard Pozner
      Plaintiff Leonard Pozner
      Plaintiff Marcel Fontaine
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        Plaintiff Neil Heslin
        Plaintiff Neil Heslin
        Plaintiff Scarlett Lewis
        Plaintiff Scarlett Lewis
        Plaintiff Veronique De La Rosa
        Plaintiff Veronique De La Rosa

Ha Minh Nguyen at ha.nguyen@usdoj.gov on behalf of:
      U.S. Trustee US Trustee

Johnie J Patterson at wandp.ecf@gmail.com;WalkerPatterson@jubileebk.net; wp@ecf.courtdrive.com on
behalf of:
        Creditor Elevated Solutions Group, LLC

Bradley J. Reeves at bradley.reeves@pillsburylaw.com on behalf of:
       Creditor Reeves Law, PLLC

Federico Andino Reynal at areynal@frlaw.us on behalf of:
        Defendant AEJ HOLDINGS, LLC
        Defendant AEJ TRUST 2018
        Defendant Free Speech Systems, LLC

Michael P Ridulfo at mridulfo@krcl.com, rcoles@krcl.com on behalf of:
       Other Prof. Schwartz Associates, LLC
       Other Prof. Marc Schwartz
       Other Prof. W. Marc Schwartz

Stephen A Roberts at sroberts@srobertslawfirm.com, 1222805420@filings.docketbird.com on behalf of
       Defendant AEJ Austin Holdings, LLC
       Defendant Carol Jones
       Defendant David Jones
       Interested Party David Ross Jones

Jayson B. Ruff at jayson.b.ruff@usdoj.gov on behalf of:
       U.S. Trustee US Trustee

R. J. Shannon at rshannon@shannonpllc.com, rshannon@shannonleellp.com;
7044075420@filings.docketbird.com on behalf of:
        Attorney Shannon & Lee LLP
        Debtor Free Speech Systems LLC

Jason Starks at bkecf@traviscountytx.gov on behalf of Creditor Travis County

Christina Walton Stephenson at Crissie.Stephenson@crowedunlevy.com,
elisa.weaver@crowedunlevy.com;ecf@crowedunlevy.com on behalf of:
        Debtor Free Speech Systems LLC
        Interested Party Alex E Jones

US Trustee at USTPRegion07.HU.ECF@USDOJ.GOV

Kimberly A Walsh at bk-kwalsh@oag.texas.gov, sherri.simpson@oag.texas.gov on behalf of:
       Creditor Texas Comptroller of Public Accounts, Revenue Accounting Division

Jennifer F Wertz at jwertz@jw.com, kgradney@jw.com;jpupo@jw.com;steso@jw.com;dduhon@jw.com on
behalf of:
        Trustee Melissa A Haselden
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                               Exhibit A




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         HAROLD N. MAY – JD, CPA, LLM, CFF
                                 Board Certified by the Texas Board of
                                  Legal Specialization in: Commercial
                                        Real Estate & Tax Law

                      1500 South Dairy Ashford, Suite 325, Houston, Texas 77077 ¨
                        Phone: (281) 407-5609 Email: hap.may@may-firm.com



        1.         WORK EXPERIENCE:

       Harold “Hap” May, P.C., Attorneys at Law
                August 2014 to present
                         Civil legal practice focusing on probate, tax, real estate, financing
                 transactions and bankruptcy matters.

            Hoover Slovacek LLP
                   Of Counsel – July 2011 to August 2014
                            Civil legal practice representing clients in tax and accounting
                   cases, bankruptcy, commercial business transactions, tax planning,
                   corporate matters, mergers and acquisitions, real estate transactions, and
                   in litigation covering all listed areas.

            May, McCreight & Associates, P.L.L.C.
                   Founder, Partner – July 2001 to July 2011
                           Civil legal practice representing clients in tax and accounting
                   cases, bankruptcy, commercial business transactions, real estate
                   transactions, and in litigation covering all listed areas.

            MMS Certified Public Accountants, P.L.L.C
             [and Harold N. May & Co., P.C.]
                   Founder, Partner – 1984 to the Present
                          CPA firm that provides tax, financial, accounting and litigation
                   support to a variety of clients.

            Yellow Rose Mortgage Co., Inc.
                   Founder, President – 1998 to the Present
                          A niche investment company that acquires legally challenged
                   mortgages and interest in real estate property.

            Kaiser & May, L.L.P.
                    Partner – June 1997 to July 2001
                           A merged entity from the former firms of Harold “Hap” May, P.C.
                    and Jeffery B. Kaiser, P.C., this civil practice focused on commercial
                    business litigation, including cases involving accounting issues.
                           Additionally, the practice serviced clients with tax, real estate,
                    bankruptcy and business transaction matters.


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       Harold N. May, Attorney at Law
               Owner – 1991 to June 1997
                      A general civil law practice with an emphasis on business and tax
               law; represented clients in tax, bankruptcy, real estate, and other legal
               matters.

    LITIGATION

       Tried numerous cases, mostly involving commercial business transactions,
        related tort claims and real property disputes.

       Experience also includes eight jury trials—three of which resulted in judgments in
        excess of $1,000,000 for the clients, including a judgment in excess of $6,000,000.

    Bankruptcy

       Over 30 years of experience with several aspects of the bankruptcy process.

       Represented numerous debtor’s in chapter 7 cases including individuals,
        corporations, partnerships and other entities.

       Tried numerous adversary matters.

       Published article in the National Association of Chapter 7 Trustee’s journal NABTTALK.

       Represented Debtor in Possession lenders.

       Represented purchasers of assets from bankrupt debtors and trustees.

       Served as expert witness for chapter 7 trustees in numerous cases involving
        accounting, tax and property of the bankruptcy estate.

    COURT-APPOINTED ENGAGEMENTS:

       Court-Appointed Receiver in a suit for partition of real property.

       Receiver and Special Manager serving under Federal District Court, overseeing
        the operation of a perfume manufacturing company and ruling on discovery
        disputes.

       Arbitrator in a matter involving 300 real property owners and a
        $20,000,000.00 settlement arising out of a toxic tort lawsuit.

       Court-Appointed Auditor engaged to examine the records if parties
        involved in real estate ownership disputes and contractual claims.

       Court-Appointed Receiver to dissolve and wind-up affairs of a local law
        firm’s operation and real property holdings.

       Court-Appointed Receiver of a Partnership and Trust that owned 8 retail strip centers.

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        Expert witness in numerous lawsuits testifying on accounting, tax, real
         estate and record keeping practices.

        Court-Appointed Temporary Administrator of a probate estate and Attorney
         Ad-Litem for heirship determinations.

        Court-Appointed Receiver in a case involving a hair salon.

    OTHER WORK EXPERIENCE:

        Served on the Consumer Arbitration Board for the Chrysler Corporation, 1992 to 1996.

        Editor for the American Bar Association’s Annual Report on Insurance
         Company Taxation, 1997 to 2003

    COURT ADMISSIONS:

        All Courts in the State of Texas – November 1, 1991

         Texas Federal Courts
            The Southern District of Texas – June 12, 1992
            The Northern District of Texas – 2002
            The Eastern District of Texas – October 21, 2002

        The Northern District of Ohio

        The District Court for the Western District of Wisconsin

        The District of Colorado

        The Fifth Circuit Court of Appeals

        The United States Tax Court

        The United States Supreme Court

    EDUCATION:

       University of Houston Law Center LL.M. Program
          LL.M. Degree in Tax Law – 1991 to 1995
                        Dissertation on Planning Considerations for Debt Troubled Taxpayers

        South Texas College of Law
                 Doctor of Jurisprudence – 1988 to 1991
                Graduated Magna Cum Laude, 2nd in 1991 graduating
                class Member of Law Review – 1989 to 1991
                 American Jurisprudence Award Recipient Dean’s List
                – 1988 to 1991 and other Honors

         Rice University
                Bachelor of Arts – 1976 to 1980
                Major in Economics and Managerial Studies
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     PROFESSIONAL ACCREDITATION:

        Certified Public Accountant

        Member of the State Bar of Texas

        Member of the American Association of Attorney CPAs

        Board Certified in Tax Law and Commercial Real Estate by the Texas Board of Legal
         Specialization

        Member of the American Bar Association and the ABA Tax Section

        Member of the Houston Bar Association and the HBA Tax and Real Estate Sections

        Certified in Financial Forensics (AICPA)

     PUBLICATIONS:

NOL Carrybacks: Back from the Dead Tax Notes Federal (September 14, 2020, p. 2031).

How to Turn a Haystack Into a Pile of Needles: Difficult but Surmountable Task of Proving
Insolvency, NABT Talk. (Winter 2010; Vol. 26, Issue 4).

Co-Author and lecturer on Texas Strategies Using Like-Kind Exchanges with
Professional Education Systems Institute, Inc., 2003

Investing in the United States-Not a Matter of Luck, lecture given to a professional
accounting organization in Mexico City and combined groups of accounting students and
professionals at the Universidad Tecnologica Rivera Maya and the Universidad
Tecnologica Cancun, 2017.




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1500 South Dairy Ashford, Suite 325                                                 Board Certified by the
Houston, Texas 77077                                                Texas Board of Legal Specialization in:
                                                                       Commercial Real Estate & Tax Law
hap.may@may-firm.com
(281) 407-5609 – Telephone                                              Certified in Financial Forensics by:
(832) 201-7675 – Telecopier                                                                       the AICPA


                                            February 1, 2024

Via email: patrick@magillpc.com
4615 Southwest Freeway
Suite 436
Houston, Texas 77027

Re:     Engagement Letter for Representation of Free Speech Systems, LLC
        (hereinafter the “Client”) by Harold “Hap” May, P.C.

Dear Client,

       Harold “Hap” May, P.C. (The “Firm”) appreciates the opportunity to represent you regarding
the above referenced matter and such matters as you may from time-to-time request. It is the Firm’s
custom, prior to undertaking representation of new clients, to explain the basis upon which our services
are rendered. We have learned over the years that this reduces the possibility for misunderstanding
between the Firm and its client.

         The services to be rendered by the Firm on your behalf shall include, among other things,
counseling and advising you on matters you request, and where appropriate, negotiating on your behalf,
preparing documents. We may be required on occasion to research and analyze local, state and/or
federal law as may be necessary to effectively represent you. The primary scope of this engagement
relates to:
            1) assisting in the drafting and implementation of the Client’s bankruptcy plan;
            2) assisting in day to day managing of the Client’s bankruptcy case
            3) assisting in discovery matters;
            4) assisting in prosecuting and defending claims and causes of action against the Client
                while in bankruptcy; and
            5) any other needed tasks typical for a chapter 11 case.

        By asking the Firm to represent you, you agree that you will pay the Firm legal fees and costs
associated with such representation. You assume full responsibility of payment of legal fees. A basic
guide for the establishment of the Firm’s legal fees are the minimum hourly billing rates of our legal
personnel. In setting the fee, we consider a variety of other factors, including the minimum hourly
billing rate. Those factors include the difficulty of the legal questions involved, the skill requisite to
perform the legal services properly, the fee customarily charged in Houston for similar services, time
limitations imposed by you, and the experience, reputation, and ability of the Firm. Therefore, the actual
amount billed may be greater than the amount derived from the minimum hourly billing rates. From
time to time, the minimum hourly billing rates are adjusted to reflect the increasing cost of providing

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legal services, an individual attorney’s particular expertise or board certification. The hourly rates set
forth above shall be applicable throughout the current calendar year but are subject to increase January
1 of each calendar year thereafter, without notice.

        We record our time for services rendered in quarter-hour (15 minute) increments, even though
the actual amount of time spent may be less than that. We will also charge you for filing fees, court
costs, certified mail charges, photocopy charges, courier charges, travel expenses, secretarial overtime
(when necessary to comply with your time requirements) and other similar costs necessarily incurred
by the Firm in providing you legal services. If it appears that costs will be incurred, we reserve the right
to request payment of those costs in advance.

        We will provide you with an itemized invoice showing the services rendered and the costs
incurred at regular intervals, usually monthly. If you have any questions whatsoever concerning an
invoice, you should call me immediately in order that we can discuss it. It is our intent to maintain an
open line of communication at all times between you and the Firm. Your failure to call me concerning
an invoice that you may question, within thirty (30) days after the invoice date, will constitute your
approval of the invoice. All invoices are due and payable within ten (10) days of receipt. If an invoice
is not paid within thirty (30) days from the date of the invoice, then interest shall accrue on the total
amount due at the rate of eighteen percent (18%) per annum from the invoice date until paid (unless
that rate exceeds the maximum legal rate, in which case the interest rate shall be automatically reduced
to the then existing maximum legal rate of interest). Should the Firm be required to file suit or institute
any proceeding to recover any amounts owed to the Firm pursuant to this letter and to any invoice, then
the Firm will also be entitled to recover reasonable attorney’s fees, expenses, and costs of court from
you. These fees may include time billed by our firm at its hourly rates if our firm represents itself. This
engagement letter shall be governed by the laws of the State of Texas. This engagement letter contains
the entire agreement between you and the Firm regarding the matters described herein and supersedes
all prior oral and written agreements in respect thereof. This engagement letter shall be binding upon
you and the Firm and the respective heirs, executors, legal representatives, successors and assigns of
the parties hereto. This engagement letter may be executed in multiple original counterparts, each of
which shall have the force and effect of an original, but together shall constitute one instrument.

        Because of uncertainties regarding the nature and extent of the matters that we will handle for
you, including potential opposition to be encountered in our representation from opposing parties and
their counsel, we cannot accurately predict the total amount of legal fees and costs to the Firm that you
may incur. Very importantly, we cannot guaranty and do not represent that there will be a favorable
outcome in the matters we handle for you.

       You authorize the Firm, upon oral instruction from you to personnel in the Firm, to retain any
person, entity or association to perform necessary services related to our legal representation of you.
Such other persons, entities or associations may include, but are not limited to, appraisers, escrow
agents, copying services, court reporters, accountants, investigators, trust officers, title examiners,
surveyors and other attorneys hired as co-counsel. You authorize the Firm, in its discretion, to direct
such other persons, entities, or associations to render statements for services rendered and expenses
advanced either directly to you or to the Firm, which expenses shall be paid in accordance with this
Engagement Letter.

       You agree to indemnify the Firm, its partners, associates, and employees from any claims,
demands, or causes of action which may be brought by third parties, other than you, because of our
representation as your attorney, attorney-in-fact, trustee, escrow agent, registered agent or fiduciary.
You agree that in the event of any litigation or proceedings between us relating to our relationship, the
party prevailing in such litigation or proceedings shall be entitled to recover its reasonable attorney’s

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fees, expenses, and costs which it may incur as a result. Such amounts may include time billed by our
firm at its hourly rates if our firm represents itself. Further, any controversy or claim between us arising
out of or relating to our representation of you or any provision of this Engagement Letter will be settled
by arbitration according to the rules of the Fee Dispute Committee of the Houston Bar Association, if
the dispute relates to the amount or collection of our fees, or otherwise by the rules of the American
Arbitration Association, and judgment on the award rendered by the arbitrators may be entered in any
court having jurisdiction over the award.

        You may terminate the Firm’s legal representation at any time upon written request to the Firm
addressed to my attention. If permission for withdrawal from employment is required by the rules of a
Court, the Firm shall withdraw upon permission of the Court. Upon termination, you agree to pay
immediately all accrued and outstanding legal fees and costs then owed to the Firm, plus subsequent
legal fees and costs, if any, necessarily incurred by the Firm to facilitate the transfer of representation
to any subsequent law firm and/or for the Firm to withdraw from any litigation.

         The Firm may withdraw from legal representation of you if any invoice is not paid within thirty
(30) days after the invoice date. We also reserve the right to withdraw if you insist upon presenting a
claim or defense that is not warranted under existing law, insist that our firm pursue a course of conduct
that is illegal or unethical, or if you, your agents, employees, officers, directors and assistants refuse to
cooperate and render it unreasonably difficult for the Firm to continue to represent you.

         All of the Firm’s work product will be owned by the Firm. Subject to the Firm’s obligations in
the event of its withdrawal, and further subject to casualties beyond its control, the Firm shall attempt
to retain and maintain all major and significant components of the files of the Firm relative to its legal
representation of you as solely determined by the Firm for a period of five (5) years following the
conclusion of such legal representation, and during such time will afford you reasonable access to such
files at your request and expense. Thereafter, such files may, in the Firm’s sole discretion and without
notice, be destroyed.

        You are encouraged to contact us if you have any questions concerning your case or our legal
representation. Copies of all significant documentation relating to your case will be provided to you at
your request and expense. I will have primary responsibility for the oversight of your case, although
other attorneys and personnel in the Firm will provide services to you from time to time.

        You will pay the Firm a retainer fee of $50,000.00. We must receive the retainer fee as well as
the signed copy of this letter before we perform significant legal services for you. The Firm may use
the retainer to satisfy its billing to you and, if the retainer is not sufficient, will require you to bring the
billing current and replenish the retainer to continue the Representation.

        If you have any questions whatsoever concerning this letter or concerning how the Firm will
handle your case, now is the most appropriate time for us to discuss those concerns, and you should call
me concerning them. Otherwise, if this letter adequately sets forth your understanding of the
representation of you by the Firm, then you should sign the enclosed duplicate original of this letter and
return it to me. You may send a check for the retainer made out to the following address:

                                          Harold “Hap” May, P.C.
                                             P. O. Box 79057
                                           Houston, Texas 77277

       You may also pay with a credit or debit card by contacting John Creech at 281-407-5609 or
john.creech@may-firm.com. Mr. Creech can address any questions you may have with respect to

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payment.

       If we can be of assistance in handling other legal matters for you, please contact us. Again, we
look forward to working with you on your case and appreciate the confidence you have shown in the
Firm by asking us to represent you.

Sincerely,


/s/Harold N. May
Harold N. May
HNM/kjm




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                                     The Texas Lawyer’s Creed
        I am a lawyer. I am entrusted by the People of Texas to preserve and improve our legal system.
I am licensed by the Supreme Court of Texas. I must therefore abide by the Texas Disciplinary Rules
of Professional Conduct, but I know that professionalism requires more than merely avoiding the
violation of laws and rules. I am committed to this creed for no other reason than it is right.

                                         Our Legal System
A lawyer owes to the administration of justice personal dignity, integrity, and independence. A lawyer
should always adhere to the highest principles of professionalism.

     1.     I am passionately proud of my profession. Therefore, “My word is my bond.”
     2.     I am responsible to assure that all persons have access to competent representation
            regardless of wealth or position in life.
     3.     I commit myself to an adequate and effective pro bono program.
     4.     I am obligated to educate my clients, the public, and other lawyers regarding the spirit and
            letter of this Creed.
     5.     I will always be conscious of my duty to the judicial system.

                                            Lawyer to Client
A lawyer owes to a client allegiance, learning, skill, and industry. A lawyer shall employ all appropriate
means to protect and advance the client’s legitimate rights, claims, and objectives. A lawyer shall not
be deterred by any real or imagined fear of judicial disfavor or public unpopularity, nor be influenced
by mere self-interest.

     1.     I will advise my client of the contents of this Creed when undertaking representation.
     2.     I will endeavor to achieve my client’s lawful objectives in legal transactions and in
            litigation as quickly and economically as possible.
     3.     I will be loyal and committed to my client’s lawful objectives, but I will not permit that
            loyalty and commitment to interfere with my duty to provide objective and independent
            advice.
     4.     I will advise my client that civility and courtesy are expected and are not a sign of
            weakness.
     5.     I will advise my client of proper and expected behavior.
     6.     I will treat adverse parties and witnesses with fairness and due consideration. A client has
            no right to demand that I abuse anyone or indulge in any offensive conduct.
     7.     I will advise my client that we will not pursue conduct which is intended primarily to
            harass or drain the financial resources of the opposing party.
     8.     I will advise my client that we will not pursue tactics which are intended primarily for
            delay.
     9.     I will advise my client that we will not pursue any course of action which is without merit.
     10.    I will advise my client that I reserve the right to determine whether to grant
            accommodations to opposing counsel in all matters that do not adversely affect my client’s
            lawful objectives. A client has no right to instruct me to refuse reasonable requests made by
            other counsel.
     11.    I will advise my client regarding the availability of mediation, arbitration, and other
            alternative methods of resolving and settling disputes.

                                         Lawyer to Lawyer
A lawyer owes to opposing counsel, in the conduct of legal transactions and the pursuit of litigation,
courtesy, candor, cooperation, and scrupulous observance of all agreements and mutual understandings.
Ill feelings between clients shall not influence a lawyer’s conduct, attitude, or demeanor toward

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opposing counsel. A lawyer shall not engage in unprofessional conduct in retaliation against other
unprofessional conduct.

     1.     I will be courteous, civil, and prompt in oral and written communications.
     2.     I will not quarrel over matters of form or style, but I will concentrate on matters of substance.
     3.     I will identify for other counsel or parties all changes I have made in documents submitted
            for review.
     4.     I will attempt to prepare documents which correctly reflect the agreement of the parties. I
            will not include provisions which have not been agreed upon or omit provisions which are
            necessary to reflect the agreement of the parties.
     5.     I will notify opposing counsel, and, if appropriate, the Court or other persons, as soon as
            practicable, when hearings, depositions, meetings, conferences or closings are canceled.
     6.     I will agree to reasonable requests for extensions of time and for waiver of procedural
            formalities, provided legitimate objectives of my client will not be adversely affected.
     7.     I will not serve motions or pleadings in any manner that unfairly limits another party’s
            opportunity to respond.
     8.     I will attempt to resolve by agreement my objections to matters contained in pleadings and
            discovery requests and responses.
     9.     I can disagree without being disagreeable. I recognize that effective representation does not
            require antagonistic or obnoxious behavior. I will neither encourage nor knowingly permit
            my client or anyone under my control to do anything which would be unethical or improper
            if done by me.
     10.    I will not, without good cause, attribute bad motives or unethical conduct to opposing
            counsel nor bring the profession into disrepute by unfounded accusations of impropriety. I
            will avoid disparaging personal remarks or acrimony towards opposing counsel, parties and
            witnesses. I will not be influenced by any ill feeling between clients. I will abstain from any
            allusion to personal peculiarities or idiosyncrasies of opposing counsel.
     11.    I will not take advantage, by causing any default or dismissal to be rendered, when I know
            the identity of an opposing counsel, without first inquiring about that counsel’s intention to
            proceed.
     12.    I will promptly submit orders to the Court. I will deliver copies to opposing counsel before
            or contemporaneously with submission to the Court. I will promptly approve the form of
            orders which accurately reflect the substance of the rulings of the Court.
     13.    I will not attempt to gain an unfair advantage by sending the Court or its staff correspondence
            or copies of correspondence.
     14.    I will not arbitrarily schedule a deposition, court appearance, or hearing until a good faith
            effort has been made to schedule it by agreement.
     15.    I will readily stipulate to undisputed facts in order to avoid needless costs or inconvenience
            for any party.
     16.    I will refrain from excessive and abusive discovery.
     17.    I will comply with all reasonable discovery requests. I will not resist discovery requests
            which are not objectionable. I will not make objections nor give instructions to a witness for
            the purpose of delaying or obstructing the discovery process. I will encourage witnesses to
            respond to all deposition questions which are reasonably understandable. I will neither
            encourage nor permit my witness to quibble about words where their meaning is reasonably
            clear.
     18.    I will not seek Court intervention to obtain discovery which is clearly improper and not
            discoverable.
     19.    I will not seek sanctions or disqualification unless it is necessary for protection of my client’s
            lawful objectives or is fully justified by the circumstances.



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                                        Lawyer and Judge
Lawyers and judges owe each other respect, diligence, candor, punctuality, and protection against unjust
and improper criticism and attack. Lawyers and judges are equally responsible to protect the dignity
and independence of the Court and the profession.

     1.     I will always recognize that the position of judge is the symbol of both the judicial system
            and administration of justice. I will refrain from conduct that degrades this symbol.
     2.     I will conduct myself in Court in a professional manner and demonstrate my respect for the
            Court and the law.
     3.     I will treat counsel, opposing parties, the Court, and members of the Court staff with courtesy
            and civility.
     4.     I will be punctual.
     5.     I will not engage in any conduct which offends the dignity and decorum of proceedings.
     6.     I will not knowingly misrepresent, mischaracterize, misquote or miscite facts or authorities
            to gain an advantage.
     7.     I will respect the rulings of the Court.
     8.     I will give the issues in controversy deliberate, impartial and studied analysis and
            consideration.
     9.     I will be considerate of the time constraints and pressures imposed upon the Court, Court
            staff and counsel in efforts to administer justice and resolve disputes.




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1500 South Dairy Ashford, Suite 325                                                  Board Certified by the
Houston, Texas 77077                                                 Texas Board of Legal Specialization in:
                                                                        Commercial Real Estate & Tax Law
hap.may@may-firm.com
(281) 407-5609 – Telephone                                               Certified in Financial Forensics by:
(832) 201-7675 – Telecopier                                                                        the AICPA


                                      SCHEDULE OF FEES AND EXPENSES
                                            (as of January 2024)

ATTORNEY                                                                       HOURLY RATE

Harold “Hap” May                                                                         $600.00
Contract Senior Counsel                                                                  $350.00
Junior Associates                                                                        $250.00

SUPPORT STAFF                                                                  $50.00-$150.00


CLIENT EXPENSES

Postage                                                                                  At Cost

Photocopies                                                                              $0.25 per page

Deliveries                                                                               At Cost

Telecopies                                                                               $1.00 per page

*Travel, Lodging, and Meals                                                              At Cost

Filing fees & Misc. Expenses                                                             At Cost

* Travel time, if any, for attorneys and paralegals will be billed at one-half of the attorney’s or
paralegal’s hourly rate(s).




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                   IN THE UNITED STATES BANKRUPTCY COURT
                     FOR THE SOUTHERN DISTRICT OF TEXAS
                               HOUSTON DIVISION
                                        §

 In re                                          §           Chapter 11 (Subchapter V)
 FREE SPEECH SYSTEMS LLC,                       §
                                                §          Case No. 22-60043 (CML)
                                                §
                                        Debtor. §
                                                §

       DECLARATION OF HAROLD "HAP" MAY PROPOSED CO-COUNSEL
                 AND DISCLOSURE OF COMPENSATION

THE STATE OF TEXAS                  §
                                    §
COUNTY OF HARRIS                    §

       I, Harold "Hap" May, hereby submits the following statement of disinterestedness
pursuant to Bankruptcy Rule 2014 and further declare, pursuant to 28 U.S.C. § 1746, that the
following is true and correct, under penalty of pe1jury:

1.     My name is Harold "Hap" May. I am over the age of eighteen (18) years. am competent
       to make this Declaration. I am a Certified Public Accountant. I am also an Attorney,
       Board Certified in Tax Law. Additionally, I have an LL.M. in Tax Law.

2.     I am a principal of Harold “Hap” May PC ("May"). I have worked on restructuring matters
       for more than thirty (30) years. I currently maintain offices at 1500 S. Dairy Ashford,
       Suite 325, Houston, Texas 77077. I am duly authorized to make and submit this declaration
       ("Declaration") in accordance with 11 USC § 327 (a) of the Bankruptcy Code and in
       conjunction with Rule 2014(a) of Federal Rules of Bankruptcy Procedure. Neither I, nor
       Evident, represent any interest adverse to the Debtor, the above-captioned debtor, as
       required by 11 U.S.C. §§ 327(a). Additionally, May and I are disinterested persons, as
       defined by 11 U.S.C. § 101(14).

3.     May and I identified the following connections with other parties in interest:



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                                a.         I was a former employee of Hoover Slovacek, LLP ("HSLLP").
                                My employment ended nine (9) years ago, in August 2014. While at
                                HSLLP, I worked with Melissa Haselden on various bankruptcy matters.
                                After I left, Melissa Haselden and I maintained a working relationship
                                through a few bankruptcy cases needing the services of a tax professional.


                            b. I worked with Chief Restructuring Officer Patrick Magill on South Coast Supply's
                               bankruptcy case during June 2018. In that case, Patrick Magill was the
                               Chief Restructuring Officer. South Coast Supply sold substantially all of its
                               assets to Solstice Capital, LLC, of which I own a fifteen percent (15%)
                               interest in. After the sale, Solstice Capital, LLC entered into an agreement
                               with Patrick Magill for consulting services lasting approximately 12
                               months.

                            c. I represent Patrick Magill in Mr. Magill's capacity as Liquidating Trustee
                               in The Tifaro Group Ltd. case.
                                1
                                    This case and my representation in this case are ongoing.

                            d. I represented Patrick Magill in a case styled DMM Group, Inc v. J.
                                                        2
                                Patrick Magill et al. This case was resolved in the summer of 2021 and
                                the representation then ended.

                            e. My tax consulting firm, Evident Tax, LLC, is employed by the Debtor.


       4.      May performed the following actions to determine whether it or any of its employees
               has any disclosable connections, to the Debtor, creditors, any other party in interest, their
               respective attorneys and accountants, the U.S. Trustee, any person employed in the office
               of the U.S. Trustee, or any of the judges for the U.S. Bankruptcy Court for the Southern
               District of Texas.

       5.      I conducted a search of May's files to determine using the list of parties in interest listed
               in Schedule 1 hereto whether May had any connections to or represented any of the parties


1
    Case No. 17-80171-11 US Bankruptcy Court for the Southern District of Texas Galveston Division
2
    Cause No. 2008-63200 in the District Court of Harris County Texas 281 Judicial District

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           listed on Schedule 1. Except as disclosed above, the search revealed that May did not
           represent any of the patties listed on Schedule 1. It is possible that May provided services
           to creditors or other parties in interest inadvertently omitted from Schedule 1 or the
           description above. If such connections exist, they would be on matters wholly unrelated
           to the service for which the Debtor seeks to engage May.

   6.      The results of the foregoing connections search process confirm that neither I, May nor any
           of its employees or partners, to the best of my knowledge, have any disqualifying
           connections.



        Based on the connections review conducted to date and described herein, to the best of my
knowledge and insofar as I can ascertain, I and May do not hold an interest adverse to the Debtor
of the estate with respect to the matter on which the Firm is to be employed.

   7.      Other than my employment as a tax consultant through Evident, neither May nor I are not
           a creditors, an equity security holder, or an insider of the Debtor; I am not and was not
           within 2 years before the Petition Date a director of the Debtor; and I do not have any
           interest materially adverse to the interests of the Debtor's bankruptcy estate or any class of
           creditors or equity security holders.

   8.      May is not a creditor, an equity security holder, or an insider of the Debtor; May is not
           and was not within 2 years before the Petition Date an employee, officer, or director of the
           Debtor; and May does not have any interest materially adverse to the interests of the
           Debtor's bankruptcy estate or any class of creditors or equity security holders.

   9.      May does not possess or assert any economic interest that would tend to lessen the value
           of the bankruptcy estate. May does not possess or assert any economic interest that would
           create either an actual or potential dispute in which the estate is a rival claimant. May does
           not have any incentive to act contrary to the best interests of the estate and its creditors.

   10.     In this bankruptcy case, the Debtor seeks to legally minimize their large tax burden while
           paying back the creditors. May and I are experienced in working on bankruptcy matters
           on behalf of debtors. The services rendered or to be rendered by May and myself are:

                              a. Assist in the drafting and implementation of the plan; and

                              b. Assist in discovery matters;

                              c. Assist in prosecuting and defending claims and causes of action; and

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                          d. Any other needed tasks typical for a chapter 11 case.

11.     May and I require one retainer of $50,000 to assist the Debtor.

12.     In connection with these services, Debtor will be required to pay May on an hourly fee
        basis. Hourly fees will be charged as follows:


             Professional                                   Hourly Rate
             Harold "Hap" May                               $600.00
             Associate Attorneys                            $250.00
             Support Staff                                  $150.00 to $50.00


13.     In addition, May will charge out-of-pocket expenses incurred in connection with its
        engagement. The expenses will be charged as set forth below.

             Client Expenses                            Hourly Rate
             Deliveries & Couriers                      At Cost
                                                        At Cost (No Charge for
             Travel, Lodging and Meals*
                                                        Travel)
             Filing Fees & Misc. Expenses               At Cost




14.     May and I have been advised that, except as provided by other order of this Court, its
        compensation may be paid only after making an appropriate application to this Court.

15.     The undersigned further states that he has not shared, or agreed to share with any person,
        other than with members of the undersigned's firm, any compensation, except as herein set
        forth.


                                                         /s/ Hap May          .
                                                        Harold “Hap” May




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                                      SCHEDULE 1

                                MAY DECLARATION

                               SEARCHED PARTIES

 Debtor & Professionals

        Law Office of Ray Battaglia
        Evident Tax, LLC                                 J. Patrick Magill



 Debtor's Equity

        Alexander E. Jones

 Largest 20 Unsecured Creditors & Litigation Claimants

Elevated Solutions Group                                 Dona Soto
Atomial LLC                                              Erica
Cloudfare,Inc.                                           Lafferty
Jacquelyn Blott                                          Francine
Joel Skousen                                             Wheeler Ian
eCommerce CDN LLC Paul                                   Hockley
Watson                                                   Jacqueline
Greenair, Inc.                                           Barden Jennifer
Edgecast, Inc.                                           Hensel Jeremy
Ready Alliance Group, Inc. Getty                         Richman Jillian
Images, Inc.                                             Soto Leonard
RatsMedical.com                                          Pozner Marcel
David Icke Books Limited                                 Fontaine Mark
WWCR                                                     Barden Neil
CustomTattoNow.com AT&T                                  Heslin
Justin Lair Brennan                                      Nicole Hockley
Gilmore Carlee Soto-                                     PQPR Holdings Limited, LLC
Parisi Carlos Soto                                       Robert Parker
Christopher Sadowski Joey                                Scarlett Lewis
Delassio Anthony Gucciardi                               Veronique De La
Carol Jones                                              Rosa William
                                                         Sherlach William
                                                         Aledenberg Larry
                                                         Klayman Randazza
                                                         Legal Group Aurium
                                                         David Jones



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Attorneys for Creditors and Parties in Interest

       Kaster Lynch Farrar & Ball                 Zeisler & ZeislerP.C.
       LLP Koskoff Koskoff &                      Jordan & Ortiz, P.C.
       Bieder Fertitta & Reynal LLP               McDowell Heterhington LLP




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                                           Akin Gump Strauss Hauer & Feld LLP
The Akers Law Firm PLLC
                                           Paul Weiss Rifkin & Garrison, LLP
Copycat Legal PLLC                         Willkie Farr & Gallagher LLP
Waller Lansden Dortch & Davis, LLP         Law Office of Liz Freeman
Jackson Walker LLP                         Chamberlain Hrdlicka
Cain & Skarnulis PLLC                      Melissa Haselden
Hawash Cicack & Gaston LLP                 Stephen A Roberts, P.C.
Streusand, Landon, Ozburn & Lemmon,
LLP



 U.S. Bankruptcy Judges and Staff

Judge Marvin Isgur                                 Tracey Conrad
Judge Christopher M. Lopez                         Rosario Saldana
Judge Jeffrey P. Norman
Judge Eduardo V. Rodriguez                         Jeannie Chavez
Ana Castro                                         Sierra Thomas Anderson
Tyler Laws                                         Tyler Laws
Zilde Martinez Compean
                                                   Mario Rios




 U.S. Trustee Personnel

       Alicia Barcomb                              Jayson B. Ruff
       Jacqueline Boykin                           Millie Sall
       Luci Johnson-                               Patricia Schmidt
       Davis Hector                                Christy Simmons
       Duran Barbra                                Gwen Smith
       Griffin Brian                               Stephen Statham
       Henault Linda                               Christopher R.
       Motton                                      Travis Clarissa
       Ha Nguyen                                   Waxton Jana
       Glenn Otto                                  Whitworth
       Yasmin Rivera




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